Case 2:14-cV-02208-.]P|\/|-Cgc Document 2-1 Filed 03/26/14 Page 1 of 3 Page|D 28

IN GENERAL SESSIONS COURT OF TENNESSEE
FOR THE COUNTY OF SHELBY AT MEMPHIS

MICHAEL A. BRADY )
)
Plaintiff, )

v. ) CASE NO. 1644087
)
HUMANA INSURANCE COMPANY AND )
BLUE CROSS BLUE SHIELD )
HEALTHCARE PLAN OF )
GEORGIA, INC )
)
Defendant. )

NOTICE OF REMOVAL TO SHELBY COUNTY CIRCUIT COURT CLERK

Comes now Blue Cross Blue Shield Healthcare Plan of Georgia, Inc., by and through
counsel, and herby gives notice that the above~referenced matter has been removed to the United
States District Court for the Western District of Tennessee at Memphis. A copy of the Notice of
kemoval is attached as EXhibit 1.

Submitred this the 26th day Of March, 2014.

EXH|B|T

.'.L-

 

 

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Respectfully submitted,

NELSON MULLINS RILEY &
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CERTIFICATE OF SERVICE

I, the undersigned attorney, do hereby certify that the foregoing document has been
served upon all counsel of record for the parties at interest in this cause by U.S. Mail, postage
prepaid to: ~

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Errol J. King, Jr.

Baker Donelson

Chase North ToWer

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Baton Rouge, LA 70801

This the 26th day Of Mar@h, 2014.

s/J ames P. Catalano
JAMEs P. CATALANO

 

